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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                      :       Honorable Douglas Arpert

          v.                                   :       Mag. No. 12-2547 (DA)

 RANDY BINDER

                                                       ORDER FOR CONTINUANCE


        This matter having been opened to the Court by Paul J. Fishman, United States Attorney for

the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing), and

defendant RANDY BINDER (Steven Altman, Esq., appearing), for an order granting a continuance

of the proceedings in the above-captioned matter; and no continuances having previously been

granted; and the defendant being aware that he has the right to have the matter presented to a Grand

Jury within thirty (30) days of the date of his arrest pursuant to Title 18 U.S.C.
                                                                                     § 3161; and the
defendant through his attorney having waived such rights and consented to the continuance; and for

good and sufficient cause shown,

       IT IS THE FINDING OF THIS COURT that this action should be continued for the

following reasons:

               1. Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

               2. Defendant has consented to the aforementioned continuance.

               3. The grant of a continuance will likely’ conserve judicial resources.

               4. Pursuant to Title 18 of the United States Code, Section 3161(h)(7)(A), the ends

      ofjustice served by’ granting the continuance outweigh the best interests ofthe public and the

      defendants in a speedy trial.
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              WH1REFORE, on this day of                      “-          2012;

              ORDERED that the proceedings in the above-captioned matter are continued from June 28,

      2012 through August 24. 2012; and it is further

              ORDERED that the period between from June 28, 2012 through August 24, 2012 shall be

      exc1udabe in computing time under the Speedy Trial Act of 1974.



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                                          HON. DOUGLAS ARFRT
                                          United States Magfstatc Judge




      Form and entry
      consen to:


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     JONATHAN ROMANKOW
     Asistant US. Attorney




     Counsel for Defendant Randy Binder
